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                         Exhibit C
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 CHAMBER OF COMMERCE OF THE
 UNITED STATES OF AMERICA;
 LONGVIEW CHAMBER OF COMMERCE;
 AMERICAN BANKERS ASSOCIATION;
 CONSUMER BANKERS ASSOCIATION;
 INDEPENDENT BANKERS ASSOCIA-
 TION OF TEXAS; TEXAS ASSOCIATION        Case No. 6:22-cv-00381
 OF BUSINESS; and TEXAS BANKERS AS-
 SOCIATION,                              DECLARATION OF DAN SMITH IN
                             Plaintiffs, SUPPORT OF PLAINTIFFS’ MOTION
                                         FOR SUMMARY JUDGMENT
 v.

 CONSUMER FINANCIAL PROTECTION
 BUREAU; and ROHIT CHOPRA, in his offi-
 cial capacity as Director of the Consumer Fi-
 nancial Protection Bureau,
                                       Defendants.

                                 DECLARATION OF DAN SMITH
I, Dan Smith, declare as follows:

        1.      I am the Executive Vice President, Head of Regulatory Affairs of the Consumer Bank-

ers Association (CBA). CBA is the only national trade association focused exclusively on retail bank-

ing. In that role, I focus on regulatory issues that affect the retail banking industry.

        2.      From April 2013 until May of 2019, I was the Consumer Financial Protection Bureau’s

(CFPB) first Assistant Director for the Office of Financial Institutions and Business Liaison, where I

was responsible for managing the Bureau’s relationship with trade associations, senior executives and

government relations professionals at all major banks and financial service companies. This role re-

quired me to interact regularly with Bureau supervisory personnel as well as gain a deep understanding

of how they conduct examinations and interact with supervised entities., including describing and

discussing the process and steps involved.
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        3.      The purpose of this declaration is to discuss the effects of a new rule announced by

the CFPB in an amendment to its Supervision and Examination Manual, Unfair, Deceptive, or Abu-

sive Acts or Practices Section, issued by the Consumer Financial Protection Bureau on March 16,

2022 (“Manual Update”).

        4.      Unless otherwise stated, this Declaration is based upon my personal knowledge and

belief or upon my review of business records of CBA, including information provided by CBA mem-

bers. If called as a witness, I could and would testify competently thereto.


I.      CBA’s Mission and Members
        5.      Established in 1919, the association is a leading voice in the banking industry and

Washington, representing members who employ nearly two million Americans, extend roughly $3

trillion in consumer loans, and provide $270 billion in small business loans. Part of its mission includes

representing its members interests in various government settings.

        6.      CBA has as members depository institutions that are subject to CFPB supervision and

examination, see 12 U.S.C. §5515, and listed as such on the CFPB’s website at: https://files.consum-

erfinance.gov/f/documents/cfpb_depository-institutions-list_2022.pdf.

        7.      Specifically, CBA has 70 total corporate members, 59 of which (84%) are supervised

by the CFPB, as well as any lawful regulations issued by the CFPB. Compare Ex. C-1 (list of CBA

Corporate Members), with Ex. C-2 (list of the 171 CFPB depository institutions); see also Ex. C-3 (list

of CBA corporate members that are CFPB depository institutions).

        8.      CBA corporate members thus make up over one-third of the total number of CFPB

depository institutions.

        9.      CBA also has associate members that are subject to CFPB examination because they

are service providers to depository institutions. Further, some CBA members are not subject to Bu-

reau supervision or examination but are subject to laws and regulations that the Bureau can enforce.


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II.     The Impact of the CFPB’s UDAAP Rule on Members’ Businesses
        10.     As Executive Vice President, Head of Regulatory Affairs, I have worked closely with

many CBA members to understand how the Manual Update will affect member businesses and the

substantial and irreparable harm that will result from it.


        A. The CFPB’s new UDAAP rule is forcing members to incur burdensome
           compliance costs.
        11.     The CFPB routinely conducts compliance examinations of certain entities, including

depository institutions that are CBA members. As part of these examinations, CFPB personnel go

onsite to regulated entities to observe, conduct interviews, and review documents and information.

They review both whether there is evidence of violations and whether there are adequate policies and

procedures in place to prevent violations. These examinations require substantial time and attention

by the employees of regulated entities, time and attention that must be diverted from other business

activities. Compliance with Dodd-Frank’s prohibition on UDAAP is one matter that the CFPB in-

vestigates through its examination process.

        12.     The CFPB gives its examiners direction on how to assess compliance with federal

consumer financial laws in these examinations through its Supervision and Examination Manual. This

1800+ page manual also provides regulated entities with information about how the CFPB assesses

their compliance with federal consumer financial laws and sets forth expectations for every institution

under the CFPB’s supervision and enforcement authority. For example, in an examination of an

entity’s compliance management system, the manual directs CFPB examiners to request and review a

whole host of specified documents; determine whether those documents address specified issues;

draw from that review preliminary conclusions about whether an entity’s compliance program is

strong, satisfactory, deficient, seriously deficient, or critically deficient; identify action needed to cor-

rect weaknesses in the entity’s compliance management system; discuss findings with the institution’s




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management and, if necessary, obtain a commitment for corrective action; and prepare a memoran-

dum for inclusion in the CFPB’s official system of record that outlines planning and strategy consid-

erations for the next examination or interim follow-up. The manual is written with mandatory lan-

guage to its examiners; indeed, it uses the word “must” more than 2,000 times. Further, if the Bureau

determines that compliance management systems are deficient, this increases the odds of the Bureau

opening an investigation into potential violations of substantive law, since the Bureau will conclude

that the deficient systems increase the risk of substantive violations. And because the Bureau can

require changes in company behavior through an enforcement action, legal theories articulated in the

exam manual are definitive Bureau interpretations to which courts will defer in any enforcement mat-

ter.

        13.     To ensure that a regulated entity is taking sufficient steps to prevent UDAAP viola-

tions, the CFPB directs its examiners to review the entity’s compliance risk management systems,

including internal controls, policies, and procedures; the entity’s training materials; the entity’s proce-

dure manuals and written policies; the entity’s internal control monitoring and auditing materials; the

entity’s minutes for board meetings and management committees; and all relevant written policies and

procedures and internal and external audit reports.

        14.     If a regulated entity fails to demonstrate what the CFPB deems an adequate compli-

ance program, the CFPB can issue a “Matter Requiring Attention,” which identifies specific goals for

the regulated entity and timeframes in which those goals must be accomplished. An entity’s response

to a “Matter Requiring Attention” can affect its Compliance rating, which the CFPB assigns at the

end of an examination. That rating is communicated to the bank’s management and, in some cases,

its Board of Directors, and can lead to additional examinations, investigations, or public enforcement

actions. “Matters Requiring Attention” also are shared with a supervised entity’s prudential regulator,

which has additional tools to leverage compliance.



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        15.     A change to the scope of UDAAP therefore imposes direct costs on CBA members.

They must undergo examinations and comply with the CFPB’s demands for records, information, and

other materials. The CFPB’s expanded interpretation of UDAAP leads to an expansion of the mate-

rials that will be relevant to the CFPB’s examination and thus imposes additional examination costs

on regulated entities as they respond to these expanded examinations.

        16.     Members of CBA have already begun complying with the CFPB’s new rule by expand-

ing their UDAAP compliance systems, including their risk assessments, checklists, and other tools, to

include nondiscrimination and by applying existing compliance systems that cover nondiscrimination

to consumer financial products not covered by the Equal Credit Opportunity Act or Home Mortgage

Disclosure Act. These enhanced compliance programs require either more staff or more time from

existing staff, new training programs, and additional business line resources for the implementation

of additional controls.

        17.     In addition, members of CBA have begun monitoring and reviewing potential discrim-

ination claims under a different legal analysis—the one applicable to alleged “unfair” acts under

UDAAP. This change also requires more staff or more time from existing staff, new training pro-

grams, and additional business line resources.

        18.     Some members have also begun performing additional analyses of consumer de-

mographics for deposit products, which are not subject to ECOA or the HMDA but are subject to

the prohibition on UDAAP. As noted above, members are preparing to expand their testing of com-

pliance risks throughout the lifecycle of deposit products.


        B. The CFPB’s UDAAP rule threatens innovation and diversity of offerings
           in the consumer financial-services industry.
        19.     The prospect of potential disparate-impact liability also may lead CBA’s members to

eliminate or forgo innovative consumer financial-services products. Members cannot be sure when



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or in what circumstances the CFPB would view a new product as unfair. For example, the Bureau

may determine that a particular deposit product offered to consumers with more well-established re-

lationships with a bank is unfair because such consumers would tend to be older than those opening

their first bank accounts. Similarly, the prospect of disparate-impact liability looms large even over

attempts made to increase access to consumer financial products for underserved communities.


III.   Enjoining CFPB’s UDAAP Expansion Would Remedy Harms to Members
       20.     Enjoining the CFPB’s actions would remedy the harms to the CBA’s members from

the Manual Update. Members could safely forgo the additional compliance costs, and would save the

resources they would otherwise expend on compliance. And members could also introduce or retain

products without fear that those products violate the new, undefined prohibition on discrimination.




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I declare under penalty of perjury that the foregoing is true and correct.



Executed this 28th day of November at Washington, D.C.




                                       __________________________________
                                        _________________________________
                                        Dan Smith




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                      CBA ON                      CBA MEDIA               CBA                    CBA
                      THE ISSUES                  CENTER                  EDUCATION              LIVE


                      CBA                          ABOUT                   SMALL BUSINESS
                      WASHINGTON                   CBA                     SPOTLIGHT
                      FORUM



                                                                                                                           

         CORPORATE MEMBERSHIP LIST
 CBA Corporate Members | By Asset Size

 $100 Billion or More
 JPMorgan Chase
 Citigroup Inc.
 Bank of America
 Wells Fargo and Company, Inc.
 U.S. Bancorp
 Truist Financial
 PNC Financial Services Group, Inc.
 Capital One Financial Corporation
 Goldman Sachs
 TD Bank​
https://www.consumerbankers.com/corporate-membership-list                                                                            1/9
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 Fifth Third Bancorp                                                   236

 American Express
 Citizens Financial Group
 Huntington Bancshares, Inc.
 Ally Bank
 KeyCorp
 BMO Harris Bank
 Regions Financial Corp.
 M&T Bank
 MUFG Union Bank
 Discover Financial Services, Inc.
 USAA Federal Savings Bank


 $50-$100 Billion
 Bank of the West
 Santander Bank, N.A.
 Synchrony Financial
 First Horizon Bank
 Comerica Incorporated
 Synovus Bank
 Frost Bank


 $10-$50 Billion
 Valley National Bank
 Old National Bancorp
 TIAA Bank
 Hancock Whitney Bank
 Associated Bank
 MidFirst Bank
 Webster Bank
 Commerce Bancshares
 Sallie Mae Bank


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 Bank OZK                                                              237

 Flagstar Bank
 United Bank
 Bank of Hawaii
 Atlantic Union Bank
 Rockland Trust Company
 Mechanics Bank
 First Interstate Bank
 WesBanco
 First Financial Bank
 Eastern Bank
 Banner Bank
 Northwest Bank
 Berkshire Hills Bancorp
 International Bank of Commerce
 First United Bank & Trust
 S&T Bank


 Under $10 Billion
 First Commonwealth Bank
 SoFi Bank
 Columbia Bank​
 Woodforest National Bank
 Ameriprise FSB
 Liberty Bank
 First American Bank
 First National Bank Texas
 ​Five Star Bank
 Independent Bank
 Texas Dow Employees Credit Union
 Credit Human Federal Credit Union
 Broadway Bank
 Crescent Bank
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 1st Financial Bank                                                    238




 CBA Corporate Members | Alphabetically
 1st Financial Bank
 Ally Bank
 American Express Company
 Ameriprise FSB
 Associated Bank
 Atlantic Union Bank
 Bank of America Corporation
 Bank of Hawaii
 Bank OZK
 Bank of the West
 Banner Bank
 Berkshire Hills Bancorp
 BMO Harris Bank
 Broadway Bank
 Capital One Financial Corporation
 Citigroup Inc.
 Citizens Financial Group
 Columbia Bank
 Comerica Incorporated
 Commerce Bancshares, Inc.
 Credit Human Federal Credit Union
 Crescent Bank
 Discover Financial Services, Inc.
 Eastern Bank
 Fifth Third Bancorp
 First American Bank
 First Commonwealth Bank
 First Financial Bank
 First Interstate Bank
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 First Horizon Bank                                                    239

 First National Bank Texas
 First United Bank & Trust
 Five Star Bank
 Flagstar Bank
 Frost Bank
 Goldman Sachs
 Hancock Whitney Bank
 Huntington Bancshares, Inc.
 IBC Bank
 Independent Bank (i-bank)
 JPMorgan Chase
 KeyCorp
 Liberty Bank
 M & T Bank Corporation
 MidFirst Bank
 MUFG Union Bank, N.A.
 Mechanics Bank
 Northwest Bank
 Old National Bancorp
 PNC Financial Services Group, Inc.
 Regions Financial Corp.
 Rockland Trust Bank
 S&T Bank
 Sallie Mae Bank
 Santander Bank, N.A.
 SoFi Bank
 Synchrony
 Synovus Bank
 TD Bank
 TIAA Bank
 Texas Dow Employees Credit Union
 Truist Financial
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 U.S. Bancorp                                                          240

 United Bank
 USAA Federal Savings Bank
 Valley National Bank
 Webster Bank
 Wells Fargo and Company, Inc.
 WesBanco
 Woodforest National Bank




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                       Kudos to @USTreasury & @SecYellen for highlighting the
                       need for oversight of non-bank Fintechs to protect
                       consumers. CBA has advocated for the proper oversight of
                       non-bank Fintechs. Banks are proof innovation can occur
                       w/ safety & consumer protections!
                                                 content.govdelivery.com
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                                                 to Close Gaps Prevent

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                                                                             CRA             Media          CBA             Program &
                                                                             Modernization   Releases       Executive       Schedule
                                                                             Funding         Press          Banking         Hotel
       CBA HEADQUARTERS                                                      Higher          Contacts       School
                                                                                                                            Exhibit &
       1225 New York Avenue, NW, Suite 1100                                  Education       Joe Belew      CBA             Sponsor
       Washington, DC 20005                                                  Committees      Award          Advanced        Opportunities
                                                                                                            Education
                                                                             Councils                                       CBA LIVE
       CONNECT                                                                                              Webinars
                                                                             Mid-Tier                                       2022
                                                                             Retail                         White Papers    Highlights
                                                                             Executive                      Education       Policies,
                                                                          Forum                          Faculty         Terms &
                                                                             Comment                   Tem                  Conditions
                                                                             Letters                   Wooldridge           Future Dates
                                                                             Small                     Award
                                                                             Business       CBA       ABOUT CBA SMALL
                                                                             Lending        WASHINGTON The CBA     BUSINESS
                                                                             Trends
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                                                                                             Featured  Directors
                                                                             CBA PAC
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                    Exhibit C-2
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                                          CFPB Depository Institutions
                                      (Based on 06/30/2022 Total Assets)
                                                                                                       Prudential   06/30/2022 Total
ID        Institution                                                       City               State
                                                                                                       Regulator      Assets (000s)

852218    JPMORGAN CHASE BANK, NATIONAL ASSOCIATION                         COLUMBUS           OH      OCC          $   3,380,824,000
480228    BANK OF AMERICA, NATIONAL ASSOCIATION                             CHARLOTTE          NC      OCC          $   2,440,022,000
476810    CITIBANK, N.A.                                                    SIOUX FALLS        SD      OCC          $   1,720,308,000
451965    WELLS FARGO BANK, NATIONAL ASSOCIATION                            SIOUX FALLS        SD      OCC          $   1,712,535,000
504713    U.S. BANK NATIONAL ASSOCIATION                                    CINCINNATI         OH      OCC          $    582,252,757
817824    PNC BANK, NATIONAL ASSOCIATION                                    WILMINGTON         DE      OCC          $    534,346,587
852320    TRUIST BANK                                                       CHARLOTTE          NC      FDIC         $    532,080,000
2182786   GOLDMAN SACHS BANK USA                                            NEW YORK           NY      FRS          $    501,906,000
3150447   CHARLES SCHWAB BANK, SSB                                          WESTLAKE           TX      FRS          $    407,901,000
497404    TD BANK, N.A.                                                     WILMINGTON         DE      OCC          $    405,223,010
112837    CAPITAL ONE, NATIONAL ASSOCIATION                                 MC LEAN            VA      OCC          $    388,439,751
541101    BANK OF NEW YORK MELLON, THE                                      NEW YORK           NY      FRS          $    365,102,000
35301     STATE STREET BANK AND TRUST COMPANY                               BOSTON             MA      FRS          $    296,434,000
3303298   CITIZENS BANK, NATIONAL ASSOCIATION                               PROVIDENCE         RI      OCC          $    226,531,535
802866    SILICON VALLEY BANK                                               SANTA CLARA        CA      FRS          $    211,824,000
723112    FIFTH THIRD BANK, NATIONAL ASSOCIATION                            CINCINNATI         OH      OCC          $    205,546,136
501105    MANUFACTURERS AND TRADERS TRUST COMPANY                           BUFFALO            NY      FRS          $    203,656,265
2489805   MORGAN STANLEY PRIVATE BANK, NATIONAL ASSOCIATION                 PURCHASE           NY      OCC          $    199,887,000
4114567   FIRST REPUBLIC BANK                                               SAN FRANCISCO      CA      FDIC         $    197,908,327
1456501   MORGAN STANLEY BANK, N.A.                                         SALT LAKE CITY     UT      OCC          $    191,345,000
280110    KEYBANK NATIONAL ASSOCIATION                                      CLEVELAND          OH      OCC          $    184,673,175
12311     HUNTINGTON NATIONAL BANK, THE                                     COLUMBUS           OH      OCC          $    178,091,290
3284070   ALLY BANK                                                         SANDY              UT      FRS          $    175,814,000
413208    HSBC BANK USA, NATIONAL ASSOCIATION                               TYSONS             VA      OCC          $    168,924,907
75633     BMO HARRIS BANK NATIONAL ASSOCIATION                              CHICAGO            IL      OCC          $    163,203,086
233031    REGIONS BANK                                                      BIRMINGHAM         AL      FRS          $    159,787,000
617677    NAVY FEDERAL CREDIT UNION                                         VIENNA             VA      NCUA         $    159,682,336
210434    NORTHERN TRUST COMPANY, THE                                       CHICAGO            IL      FRS          $    157,289,965
1394676   AMERICAN EXPRESS NATIONAL BANK                                    SANDY              UT      OCC          $    137,922,091
2253891   CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION                      GLEN ALLEN         VA      OCC          $    126,717,894
212465    MUFG UNION BANK, NATIONAL ASSOCIATION                             SAN FRANCISCO      CA      OCC          $    124,662,227
3212149   UBS BANK USA                                                      SALT LAKE CITY     UT      FDIC         $    121,042,178
2942690   SIGNATURE BANK                                                    NEW YORK           NY      FDIC         $    115,966,803
619877    USAA FEDERAL SAVINGS BANK                                         SAN ANTONIO        TX      OCC          $    114,528,000
30810     DISCOVER BANK                                                     GREENWOOD          DE      FDIC         $    113,025,156
491224    FIRST-CITIZENS BANK & TRUST COMPANY                               RALEIGH            NC      FDIC         $    107,542,088
804963    BANK OF THE WEST                                                  SAN FRANCISCO      CA      FDIC         $     94,491,881
722777    SANTANDER BANK, NATIONAL ASSOCIATION                              WILMINGTON         DE      OCC          $     93,871,794
63069     CITY NATIONAL BANK                                                LOS ANGELES        CA      OCC          $     91,119,374
276579    ZIONS BANCORPORATION, NATIONAL ASSOCIATION                        SALT LAKE CITY     UT      OCC          $     87,783,903
60143     COMERICA BANK                                                     DALLAS             TX      FRS          $     87,024,000
1216022   SYNCHRONY BANK                                                    DRAPER             UT      OCC          $     87,015,000
485559    FIRST HORIZON BANK                                                MEMPHIS            TN      FRS          $     84,803,751
761806    WEBSTER BANK, NATIONAL ASSOCIATION                                STAMFORD           CT      OCC          $     67,468,299
3138146   WESTERN ALLIANCE BANK                                             PHOENIX            AZ      FRS          $     65,993,486
694904    NEW YORK COMMUNITY BANK                                           HICKSVILLE         NY      FDIC         $     63,046,655
197478    EAST WEST BANK                                                    PASADENA           CA      FRS          $     62,379,357
940311    BANCO POPULAR DE PUERTO RICO                                      SAN JUAN           PR      FRS          $     60,303,000
395238    SYNOVUS BANK                                                      COLUMBUS           GA      FRS          $     57,282,102
229801    VALLEY NATIONAL BANK                                              PASSAIC            NJ      OCC          $     54,435,500
1189117   STATE EMPLOYEES CREDIT UNION                                      RALEIGH            NC      NCUA         $     53,132,250
682563    FROST BANK                                                        SAN ANTONIO        TX      FRS          $     51,845,683
606046    CADENCE BANK                                                      TUPELO             MS      FDIC         $     47,753,105
1842065   CIBC BANK USA                                                     CHICAGO            IL      FDIC         $     47,735,863
1929247   SOUTHSTATE BANK, N.A.                                             WINTER HAVEN       FL      OCC          $     46,193,356
208244    OLD NATIONAL BANK                                                 EVANSVILLE         IN      OCC          $     45,500,554
339858    BOKF, NATIONAL ASSOCIATION                                        TULSA              OK      OCC          $     45,202,565
908508    BANK OF CHINA – NEW YORK BRANCH AND OTHER BRANCHES                NEW YORK           NY      OCC          $     46,211,090
379920    FIRST NATIONAL BANK OF PENNSYLVANIA                               GREENVILLE         PA      OCC          $     41,653,367
2193616   RAYMOND JAMES BANK                                                SAINT PETERSBURG   FL      FRS          $     41,210,153
214807    DEUTSCHE BANK TRUST COMPANY AMERICAS                              NEW YORK           NY      FRS          $     40,976,000
494261    PACIFIC WESTERN BANK                                              BEVERLY HILLS      CA      FDIC         $     40,909,816
2925666   PINNACLE BANK                                                     NASHVILLE          TN      FDIC         $     39,877,839
1893049   CHARLES SCHWAB PREMIER BANK, SSB                                  WESTLAKE           TX      FRS          $     39,630,000




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                                                                                                     Prudential   06/30/2022 Total
ID        Institution                                                      City              State
                                                                                                     Regulator      Assets (000s)

2735146   TIAA, FSB                                                        JACKSONVILLE      FL      OCC          $     38,576,417
664756    PROSPERITY BANK                                                  EL CAMPO          TX      FDIC         $     37,409,499
936855    UMB BANK, NATIONAL ASSOCIATION                                   KANSAS CITY       MO      OCC          $     37,246,891
917742    ASSOCIATED BANK, NATIONAL ASSOCIATION                            GREEN BAY         WI      OCC          $     37,187,818
546571    PENTAGON FEDERAL CREDIT UNION                                    ALEXANDRIA        VA      NCUA         $     36,688,896
2121196   TD BANK USA, NATIONAL ASSOCIATION                                WILMINGTON        DE      OCC          $     36,505,776
3938186   BANKUNITED, NATIONAL ASSOCIATION                                 MIAMI LAKES       FL      OCC          $     36,428,574
2980209   BARCLAYS BANK DELAWARE                                           WILMINGTON        DE      FDIC         $     34,947,000
463735    HANCOCK WHITNEY BANK                                             GULFPORT          MS      FDIC         $     34,617,125
601050    COMMERCE BANK                                                    KANSAS CITY       MO      FRS          $     33,255,614
595270    MIDFIRST BANK                                                    OKLAHOMA CITY     OK      OCC          $     33,075,693
2618780   TEXAS CAPITAL BANK                                               DALLAS            TX      FDIC         $     32,329,780
659855    FIRST INTERSTATE BANK                                            BILLINGS          MT      FRS          $     31,970,444
934329    BNY MELLON, NATIONAL ASSOCIATION                                 PITTSBURGH        PA      OCC          $     31,639,000
143662    UMPQUA BANK                                                      ROSEBURG          OR      FDIC         $     30,131,538
972590    BOEING EMPLOYEES CREDIT UNION                                    TUKWILA           WA      NCUA         $     29,522,116
365325    UNITED BANK                                                      FAIRFAX           VA      FRS          $     28,735,887
288853    FIRSTBANK                                                        LAKEWOOD          CO      FRS          $     28,629,878
937898    SCHOOLSFIRST FEDERAL CREDIT UNION                                SANTA ANA         CA      NCUA         $     28,067,397
3394278   SALLIE MAE BANK                                                  SALT LAKE CITY    UT      FDIC         $     27,374,022
663245    SIMMONS BANK                                                     PINE BLUFF        AR      FRS          $     27,171,310
2634191   GLACIER BANK                                                     KALISPELL         MT      FDIC         $     26,666,056
311845    ARVEST BANK                                                      FAYETTEVILLE      AR      FRS          $     26,592,983
1443266   BANK OF AMERICA CALIFORNIA, NATIONAL ASSOCIATION                 SAN FRANCISCO     CA      OCC          $     26,568,000
107244    BANK OZK                                                         LITTLE ROCK       AR      FDIC         $     25,919,965
527954    FIRST NATIONAL BANK OF OMAHA                                     OMAHA             NE      OCC          $     25,840,035
980661    FIRST HAWAIIAN BANK                                              HONOLULU          HI      FDIC         $     25,376,921
474919    FULTON BANK, NATIONAL ASSOCIATION                                LANCASTER         PA      OCC          $     24,947,504
146672    FLAGSTAR BANK, FSB                                               TROY              MI      OCC          $     24,847,064
456045    CENTENNIAL BANK                                                  CONWAY            AR      FRS          $     24,196,505
1017939   UNITED COMMUNITY BANK                                            GREENVILLE        SC      FDIC         $     24,154,420
764030    AMERIS BANK                                                      ATLANTA           GA      FDIC         $     23,591,556
795968    BANK OF HAWAII                                                   HONOLULU          HI      FRS          $     23,205,058
814430    CITY NATIONAL BANK OF FLORIDA                                    MIAMI             FL      OCC          $     23,177,678
128904    EASTERN BANK                                                     BOSTON            MA      FDIC         $     22,329,556
431172    PACIFIC PREMIER BANK                                             IRVINE            CA      FRS          $     21,998,233
3076248   STIFEL BANK AND TRUST                                            SAINT LOUIS       MO      FRS          $     21,743,201
595869    CATHAY BANK                                                      LOS ANGELES       CA      FDIC         $     21,219,917
2078290   COLUMBIA STATE BANK                                              TACOMA            WA      FDIC         $     20,555,814
437914    WILMINGTON SAVINGS FUND SOCIETY, FSB                             WILMINGTON        DE      OCC          $     20,453,582
2354985   CUSTOMERS BANK                                                   PHOENIXVILLE      PA      FRS          $     20,242,747
656377    WASHINGTON FEDERAL BANK                                          SEATTLE           WA      FDIC         $     20,164,584
613008    ROCKLAND TRUST COMPANY                                           ROCKLAND          MA      FDIC         $     19,981,733
853952    CENTRAL TRUST BANK, THE                                          JEFFERSON CITY    MO      FRS          $     19,606,477
693224    ATLANTIC UNION BANK                                              RICHMOND          VA      FRS          $     19,546,091
510871    FIRSTBANK PUERTO RICO                                            SAN JUAN          PR      FDIC         $     19,522,758
936462    MECHANICS BANK                                                   WALNUT CREEK      CA      FDIC         $     18,616,778
1225761   WELLS FARGO NATIONAL BANK WEST                                   LAS VEGAS         NV      OCC          $     18,612,068
959395    GOLDEN 1 CREDIT UNION, THE                                       SACRAMENTO        CA      NCUA         $     18,483,937
122854    INDEPENDENT BANK DBA INDEPENDENT FINANCIAL                       MCKINNEY          TX      FDIC         $     18,101,986
671464    BANK OF HOPE                                                     LOS ANGELES       CA      FDIC         $     18,083,352
17147     FIRST MERCHANTS BANK                                             MUNCIE            IN      FDIC         $     17,762,137
277697    AMERICA FIRST FEDERAL CREDIT UNION                               RIVERDALE         UT      NCUA         $     17,462,475
3470239   AMERIPRISE BANK, FSB                                             MINNEAPOLIS       MN      OCC          $     17,120,271
342634    TRUSTMARK NATIONAL BANK                                          JACKSON           MS      OCC          $     16,949,123
2797724   TOWNEBANK                                                        PORTSMOUTH        VA      FDIC         $     16,864,040
933966    CITIZENS BUSINESS BANK                                           ONTARIO           CA      FDIC         $     16,758,546
645625    WESBANCO BANK, INC.                                              WHEELING          WV      FDIC         $     16,752,817
749242    RENASANT BANK                                                    TUPELO            MS      FDIC         $     16,620,657
367392    ALLIANT CREDIT UNION                                             CHICAGO           IL      NCUA         $     16,437,637
249612    APPLE BANK FOR SAVINGS                                           NEW YORK          NY      FDIC         $     16,387,356
352772    BANNER BANK                                                      WALLA WALLA       WA      FDIC         $     16,374,975
165628    FIRST FINANCIAL BANK                                             CINCINNATI        OH      FRS          $     16,155,541
2917317   AXOS BANK                                                        SAN DIEGO         CA      OCC          $     16,002,714
709787    FIRST TECHNOLOGY FEDERAL CREDIT UNION                            SAN JOSE          CA      NCUA         $     15,868,641
25085     SUNCOAST CREDIT UNION                                            TAMPA             FL      NCUA         $     15,771,295
800657    BREMER BANK, NATIONAL ASSOCIATION                                SAINT PAUL        MN      OCC          $     15,718,051




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                                                                                                    Prudential   06/30/2022 Total
ID        Institution                                                    City               State
                                                                                                    Regulator      Assets (000s)

1216826   SILVERGATE BANK                                                LA JOLLA           CA      FRS          $     15,706,279
491381    RANDOLPH-BROOKS FEDERAL CREDIT UNION                           LIVE OAK           TX      NCUA         $     15,533,265
5278251   CHARLES SCHWAB TRUST BANK                                      HENDERSON          NV      FDIC         $     15,465,000
915878    THIRD FEDERAL SAVINGS & LOAN ASSOCIATION OF CLEVELAND          CLEVELAND          OH      OCC          $     15,390,543
202907    COMMUNITY BANK, NATIONAL ASSOCIATION                           CANTON             NY      OCC          $     15,263,971
3202702   OPTUM BANK, INC.                                               DRAPER             UT      FDIC         $     15,069,762
611198    MOUNTAIN AMERICA FEDERAL CREDIT UNION                          Sandy              UT      NCUA         $     14,721,826
3348888   SERVISFIRST BANK                                               HOMEWOOD           AL      FDIC         $     14,492,668
3475083   TRISTATE CAPITAL BANK                                          PITTSBURGH         PA      FDIC         $     14,473,401
1002878   NORTHWEST BANK                                                 WARREN             PA      FDIC         $     14,248,676
95716     STATE BANK OF INDIA-NEW YORK BRANCH                            NEW YORK           NY      FDIC         $     14,110,054
509950    FIRST UNITED BANK AND TRUST COMPANY                            DURANT             OK      FDIC         $     13,946,900
637451    PLAINSCAPITAL BANK                                             UNIVERSITY PARK    TX      FRS          $     13,935,564
204004    PROVIDENT BANK                                                 JERSEY CITY        NJ      FDIC         $     13,710,522
506922    SANDY SPRING BANK                                              OLNEY              MD      FRS          $     13,297,905
470050    FIRST FINANCIAL BANK, NATIONAL ASSOCIATION                     ABILENE            TX      OCC          $     13,215,142
1190476   ENTERPRISE BANK & TRUST                                        CLAYTON            MO      FDIC         $     13,044,603
99189     VYSTAR CREDIT UNION                                            JACKSONVILLE       FL      NCUA         $     13,028,981
320119    ISRAEL DISCOUNT BANK OF NEW YORK                               NEW YORK           NY      FDIC         $     12,604,295
666581    SECURITY SERVICE FEDERAL CREDIT UNION                          SAN ANTONIO        TX      NCUA         $     12,483,909
85472     OCEANFIRST BANK, NATIONAL ASSOCIATION                          TOMS RIVER         NJ      OCC          $     12,351,391
23504     DIME COMMUNITY BANK                                            BRIDGEHAMPTON      NY      FRS          $     12,333,501
416245    BUSEY BANK                                                     CHAMPAIGN          IL      FDIC         $     12,318,107
436159    FIRSTBANK                                                      NASHVILLE          TN      FDIC         $     12,179,222
651596    LAKE MICHIGAN CREDIT UNION                                     GRAND RAPIDS       MI      NCUA         $     12,090,830
136374    BETHPAGE FEDERAL CREDIT UNION                                  BETHPAGE           NY      NCUA         $     11,784,337
2850722   BMW BANK OF NORTH AMERICA                                      SALT LAKE CITY     UT      FDIC         $     11,763,730
871769    FARMERS AND MERCHANTS BANK OF LONG BEACH                       LONG BEACH         CA      FRS          $     11,731,961
301190    SAN DIEGO COUNTY CREDIT UNION                                  SAN DIEGO          CA      NCUA         $     11,630,725
702117    NBT BANK, NATIONAL ASSOCIATION                                 NORWICH            NY      OCC          $     11,628,778
473501    BERKSHIRE BANK                                                 PITTSFIELD         MA      FDIC         $     11,576,551
366573    ALASKA USA FEDERAL CREDIT UNION                                ANCHORAGE          AK      NCUA         $     11,392,455
2652092   EAGLEBANK                                                      BETHESDA           MD      FRS          $     10,884,259
472988    STAR ONE CREDIT UNION                                          SUNNYVALE          CA      NCUA         $     10,828,014
2736291   POPULAR BANK                                                   NEW YORK           NY      FRS          $     10,820,085
58971     WASHINGTON TRUST BANK                                          SPOKANE            WA      FDIC         $     10,614,139
961624    DOLLAR BANK, FEDERAL SAVINGS BANK                              PITTSBURGH         PA      OCC          $      9,942,030
1001152   INTERNATIONAL BANK OF COMMERCE                                 LAREDO             TX      FDIC         $      9,248,674
909000    BANK OF BARODA - NEW YORK BRANCH                               NEW YORK           NY      FDIC         $      7,694,675
2265456   WILMINGTON TRUST, NATIONAL ASSOCIATION                         WILMINGTON         DE      OCC          $        839,461




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                          Affiliates of Depository Institutions Over $10 Billion
                                   (Based on 06/30/2022 Total Assets)
                                                                                                                    06/30/2022
                                                                                                     Prudential
ID        Institution                                                        City            State                  Total Assets
                                                                                                     Regulator
                                                                                                                      (000s)
2362458   WELLS FARGO BANK SOUTH CENTRAL, NATIONAL ASSOCIATION               HOUSTON         TX      OCC          $      7,900,890
3783948   RBC BANK (GEORGIA), NATIONAL ASSOCIATION                           ATLANTA         GA      OCC          $     6,175,672
3076220   STIFEL BANK                                                        CLAYTON         MO      FRS          $     4,955,507
230759    INTERNATIONAL BANK OF COMMERCE                                     BROWNSVILLE     TX      FDIC         $     3,983,348
1015560   INDUSTRIAL AND COMMERCIAL BANK OF CHINA (USA), NATIONAL            NEW YORK        NY      OCC          $     2,781,046
217237    STATE BANK OF INDIA-CHICAGO BRANCH                                 CHICAGO         IL      FDIC         $     2,434,727
2502656   USAA SAVINGS BANK                                                  LAS VEGAS       NV      FDIC         $     2,292,037
5050028   INTERNATIONAL BANK OF COMMERCE                                     OKLAHOMA CITY   OK      FDIC         $     1,816,211
398668    BANK OF NEW YORK MELLON TRUST COMPANY, NATIONAL ASSOCIATION, THE   LOS ANGELES     CA      OCC          $     1,497,712
779968    STATE BANK OF INDIA (CALIFORNIA)                                   LOS ANGELES     CA      FDIC         $     1,038,834
811279    STANDARD BANK                                                      MURRYSVILLE     PA      OCC          $       996,262
2713920   STIFEL TRUST COMPANY NATIONAL ASSOCIATION                          SAINT LOUIS     MO      OCC          $       871,908
3382547   DEPARTMENT STORES NATIONAL BANK                                    SIOUX FALLS     SD      OCC          $       717,168
625159    COMMERCE BANK                                                      LAREDO          TX      FDIC         $       661,842
382069    INTERNATIONAL BANK OF COMMERCE                                     ZAPATA          TX      FDIC         $       473,977
4125778   STIFEL TRUST COMPANY DELAWARE, NATIONAL ASSOCIATION                WILMINGTON      DE      OCC          $       424,326
975751    CIBC NATIONAL TRUST COMPANY                                        ATLANTA         GA      OCC          $       324,283
488318    BNY MELLON TRUST OF DELAWARE                                       WILMINGTON      DE      FDIC         $       187,275
304913    DEUTSCHE BANK TRUST COMPANY DELAWARE                               WILMINGTON      DE      FDIC         $       119,783
772446    COMERICA BANK & TRUST, NATIONAL ASSOCIATION                        ANN ARBOR       MI      OCC          $        90,574
651448    JPMORGAN CHASE BANK, DEARBORN                                      DEARBORN        MI      FRS          $        62,101
3357620   HSBC TRUST COMPANY (DELAWARE), NATIONAL ASSOCIATION                WILMINGTON      DE      OCC          $        55,574
3353154   BMO HARRIS CENTRAL NATIONAL ASSOCIATION                            ROSELLE         IL      OCC          $         8,039
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           List of CBA Corporate Members that are CFPB Depository Institutions


1st Financial Bank                  Eastern Bank                     Northwest Bank
Ally Bank                           Fifth Third Bancorp              Old National Bancorp
American Express                    First Financial Bank             PNC Financial Services Group, Inc.
Ameriprise FSB                      First Horizon Bank               Regions Financial Corp.
Associated Bank                     First Interstate Bank            Rockland Trust Company
Atlantic Union Bank                 First National Bank Texas        Sallie Mae Bank
Bank of America                     First United Bank & Trust        Santander Bank, N.A.
Bank of Hawaii                      Flagstar Bank                    Synchrony Financial
Bank of the West                    Frost Bank                       Synovus Bank
Bank OZK                            Goldman Sachs                    TD Bank
Banner Bank                         Hancock Whitney Bank             TIAA Bank
Berkshire Hills Bancorp             Huntington Bancshares, Inc.      Truist Financial
BMO Harris Bank                     Independent Bank                 U.S. Bancorp
Capital One Financial Corp.         International Bank of Commerce   United Bank
Citigroup Inc.                      JPMorgan Chase                   USAA Federal Savings Bank
Citizens Financial Group            KeyCorp                          Valley National Bank
Columbia Bank                       M&T Bank                         Webster Bank
Comerica Incorporated               Mechanics Bank                   Wells Fargo and Company, Inc.
Commerce Bancshares                 MidFirst Bank                    WesBanco
Discover Financial Services, Inc.   MUFG Union Bank
